                       Case 4:15-cr-00276-KGB                     Document 632            Filed 05/26/17        Page 1 of 7
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1




                UNITED STATES OF AMERICA
                                  v.
                       VERBIE WALKER                                                Case Number: 4:15-cr-00276-023 KGB

                                                                                    USM Number: 29800-009
                                                                                     JACK R. KEARNEY
                                                                                    Defendant's Attorney
THE DEFENDANT:
!iZI pleaded guilty to count(s)        1s
                                   ~----------------------------------



0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 7 u.s.c. § 2024(b)                Unauthorized Use of SNAP Benefits,                                         10/13/2013                 1s

                                   a Class A Misdemeanor



       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

liZI Count(s)    25                                     liZf is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenctant must notify the court and United States attorney of material clianges in econonnc circumstances.

                                                                          5/25/2017
                                                                         Date of Imposition of Judgment




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge              ·-------='--------




                                                                         Date
                                                                             ~- 2~ 1 wrr--
                      Case 4:15-cr-00276-KGB                Document 632           Filed 05/26/17         Page 2 of 7
AO 2458 (Rev. 11116) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                                     2_ of
                                                                                                    Judgment- Page _ _       7
DEFENDANT: VERSIE WALKER
CASE NUMBER: 4:15-cr-00276-023 KGB

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
Time served.




     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.      D p.m.       on

           D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                         By - - - - - - - - - - - - - - - - - - - - - -
                                                                                             DEPUTY UNITED STATES MARSHAL
                      Case 4:15-cr-00276-KGB              Document 632             Filed 05/26/17         Page 3 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     3    of         7
DEFENDANT: VERSIE WALKER
CASE NUMBER: 4:15-cr-00276-023 KGB
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:       1 year.



                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet JA - Supervised Release
                                                                                               Judgment-Page _ _ _ _ of _ _ _ _ __
DEFENDANT: VERSIE WALKER
CASE NUMBER: 4:15-cr-00276-023 KGB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                ------------
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 30 - Supervised Release
                                                                                           Judgment-Page         of
DEFENDANT: VERSIE WALKER
CASE NUMBER: 4:15-cr-00276-023 KGB

                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate under the guidance and supervision of the probation office in a substance abuse treatment
 program which may included testing, outpatient counseling and residential treatment. Further, the defendant shall abstain
 from the use of alcohol throughout the course of treatment. The defendant shall pay for the cost of treatment at the rate of
 $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation
 office. In the event the defendant is unable to pay for the cost of treatment, the co-pay requirement shall be waived.

 The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 The defendant shall disclose business and personal financial information including all assets (including unexpected
 financial gains) and liabilities to the probation office.

 The defendant shall not transfer, sell, give away, or otherwise convey any asset without approval from the probation office.
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AO 2458 (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment - Page     6    of       7
DEFENDANT: VERSIE WALKER
CASE NUMBER: 4:15-cr-00276-023 KGB
                                                CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                    JVTA Assessment*                     Fine                       Restitution
 TOTALS              $ 25.00                     $ 0.00                                 $ 0.00                     $ 1,575.00


 0       The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 ~       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.a~ent, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

  Name of Payee                                                                      Total Loss**        Restitution Ordered Priority or Percentage
       U.S. Department of Agriculture                                                     $1,575.00               $1,575.00      Joint and Several
       FNS Lock Box
     Attn: Accounting Division
       P.O. Box 979027
       St. Louis, Missouri 63197-9000




TOTALS                                                                         $              1,575.oo   s____1~.5~7~5=.o=o
!ill     Restitution amount ordered pursuant to plea agreement $                   1,575.00
                                                                               ---------~



0        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ~ the interest requirement is waived for the          0       fine       ~ restitution.

          O the interest requirement for the        O fine          0     restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 11116)
                         Case   4:15-cr-00276-KGB
                         Judgment in a Criminal Case
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                         Sheet 6 - Schedule of Payments

                                                                                                                  Judgment -   Page   _7__ of              7
 DEFENDANT: VERSIE WALKER
 CASE NUMBER: 4:15-cr-00276-023 KGB

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A        liZI   Lump sum payment of$ -25.00
                                       - - - - - - due immediately, balance due

                D    not later than                                    , or
                D    in accordance with    D C,        D   D,      O    E,or       liZI F below; or
B        D Payment to begin immediately (may be combined with                   D C,        D D, or       D F below); or

 C       D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D        D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

E        D Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        liZI   Special instructions regarding the payment of criminal monetary penalties:

                Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's monthly
                gross income. Interest is waived.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!afY penalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 l!'.I   Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.
          Restitution in the amount of $1575.00 shall be joint and several with co-defendants Khalid S.A. Alkarsh
          (4:15-cr-00276-01) and Bakil Mohamed Alqirsh (4:15-cr-00276-02) should they be ordered to pay restitution in this
          case.


0        The defendant shall pay the cost of prosecution.

D        The defendant shall pay the following court cost(s):

0        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commuruty restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
